962 F.2d 6
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sylvester CRUDUP, Plaintiff-Appellant,v.D. R. STATON;  E. Isaac, SR.;  C. T. Barksdale, Defendants-Appellees.
    No. 92-6011.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 13, 1992Decided:  May 8, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CA-90-1749-N)
      Sylvester Crudup, Appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before HALL and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Sylvester Crudup appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Crudup v. Staton, No. CA-90-1749-N (E.D. Va.  Dec. 4, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    